    Case 2:18-ml-02814-AB-PVC Document 1176 Filed 09/15/21 Page 1 of 2 Page ID #:48570
 Name and address:
 Debora Rabieian (SBN 315022)
 email: drabieian@slpattorney.com
 STRATEGIC LEGAL PRACTICES, APC
 1840 Century Park East, Suite 430
 Los Angeles, CA 90067
 Tel: 310-929-4900



                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
In Re Ford Motor Co. DPS6 Powershift Transmission                 CASE NUMBER:
Products Liability Litigation                                                       2:18-ml-02814-AB-PVC
                                                   PLAINTIFF(S)
                               v.


                                                                               NOTICE OF APPEARANCE OR
                                                                               WITHDRAWAL OF COUNSEL
                                                 DEFENDANT(S)

                                                      INSTRUCTIONS
Appearance of Counsel:
Attorneys may use this form to enter an appearance in a case, or to update the docket of a case to reflect a prior
appearance. To do so, complete Sections I, II, and IV of this form, then file and serve the form in the case. (Using an
attorney's CM/ECF login and password to file this form will expedite the addition of that attorney to the docket as counsel
of record.)
Withdrawal of Counsel:
This form may be used to terminate an attorney's status as counsel of record for a party in three situations: (1) the
attorney being terminated has already been relieved by the Court, but the docket does not yet reflect that fact; (2) at least
one member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member of the Bar of this Court representing that party; or (3) the represented party has been dismissed from the
case, but the attorneys are still receiving notices of electronic filing. For any of these situations, complete Sections I, III,
and IV of this form, then file and serve the form in the case.
Note: In situations not covered above, attorneys seeking to withdraw from a case must first obtain permission from the
 Court. In such circumstances, attorneys should complete and file a "Request for Approval of Substitution or Withdrawal of
 Counsel" (Form G-01) rather than this "Notice of Appearance or Withdrawal of Counsel" (Form G-123). See Form G-Olfor
further information.
SECTION I - IDENTIFYING INFORMATION
Please complete the following information for the attorney you wish to add or remove (if removing an attorney, provide the
information as it currently appears on the docket; if appearing pro hac vice, enter "PHV" in the field for "CA Bar Number'J;

Name: Debora Rabieian                                                               CA Bar Number: 315022
Firm or agency: STRATEGIC LEGAL PRACTICES, APC
Address: 1840 Century Park East, Suite 430 Los Angeles, CA 90067
Telephone Number: -------------
                  310-929-4900                                       Fax Number: 310-348-3838
Email: drabieian@slpattorney.com
Counsel of record for the following party or parties: STRATEGIC LEGAL PRACTICES Plaintiffs




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SECTION II -TO ADD AN ATTORNEY TO THE DOCKET
Please select one of the following options:
 D       The attorney listed above has already appeared as counsel ofrecord in this case and should have been added to the
         docket. The date ofthe attorney's first appearance in this case: ---------
 (8]     The filing ofthis form constitutes the first appearance in this case ofthe attorney listed above. Other members of
         this attorney's firm or agency have previously appeared in the case.
 D       The filing ofthis form constitutes the first appearance in this case ofthe attorney listed above. No other members
         ofthis attorney's firm or agency have previously appeared in the case.
 D       By order ofthe court dated _________ in case number ___________ (see attached
         copy), the attorney listed above may appear in this case without applying for admission to practice pro hac vice.
 D       This case was transferred to this district by the Judicial Panel on Multidistrict Litigation ("JPML") pursuant to 28
         U.S.C. § 1407 from the _______ District of________� where it was assigned case number
         _________. The attorney listed above is counsel ofrecord in this case in the transferee district, and is
         permitted by the rules ofthe JPML to continue to represent his or her client in this district without applying for
         admission to practice pro hac vice and without the appointment oflocal counsel.
 D       On---------� the attorney listed above was granted permission to appear in this case pro hac vice
         before the Bankruptcy Court, and L.Bankr.R. 8 authorizes the continuation ofthat representation in this case before
         the District Court.
In addition,   if this is a criminal case, please check the applicable box below. The attorney listed above is:
         □ USAO □ FPDO □ CJA Appointment □ Pro Bono □ Retained
SECTION III -TO REMOVE AN ATTORNEY FROM THE DOCKET
Notices ofElectronic Filing will be terminated. Please select one of the following options:

 D       The attorney named above has already been relieved by the Court as counsel ofrecord in this case and should
         have been removed from the docket. Date ofthe order relieving this attorney: ___________

 D       Please remove the attorney named above from the docket ofthis case; at least one member ofthe firm or agency
         named above, and at least one member ofthe Bar ofthis Court, will continue to serve as counsel ofrecord for the
         party or parties indicated.
         (Note: ifyou are removing yourselffrom the docket of this case as a result of separating from afirm or agency, you
         should consult Local Rules 5-4.8.1 and 83-2.4 and Form G-06 ("Notice of Change of Attorney Business or Contact
         Information"), concerning your obligations to notify the Clerk and parties of changes in your business or contact
         information.)
 D       The represented party has been dismissed from the case, but the attorneys are still receiving notices of electronic
         filing. Date party was dismissed:

 D       The attorney named above was appointed on appeal and the appeal has been adjudicated. Date the mandate was
         filed:

SECTION IV -SIGNATURE

I request that the Clerk update the docket as indicated above.


       Date: 09/14/2021                                  Signature: /s/: Debora Rabieian

                                                         Name:        Debora Rabieian

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